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 6                      IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
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 9   United States of America,                        No. CR-19-00898-001-PHX-DLR
10                 Plaintiff,                         ORDER
11   v.
12   David Allen Harbour,
13                 Defendant.
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16         Before the Court is the Government’s Motion to Amend Order of Forfeiture and/or

17   Order Immediate Payment of Restitution (Doc. 805). There being no response filed by
18   Defendant, and for good cause shown, the Court grants the motion and adopts the

19   Government’s proposed order. Accordingly,

20         IT IS ORDERED that the Government’s motion (Doc. 805) is GRANTED and the
21   Court’s forfeiture order (Doc. 801) is amended as follows:
22         On November 6, 2023, this Court entered its Order of forfeiture, including directly

23   forfeitable substitute property and a money judgment. (Doc. 801). Except as to the value

24   of the directly forfeited property, the money judgment remains unsatisfied. The United

25   States has now shown by a preponderance of the evidence that the following items of

26   personal property and Defendant’s $30,000 capital trust account with BackJoy Orthotics,
27   LLC, are subject to forfeiture as substitute assets in partial satisfaction of the money
28   judgment against Defendant:
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 1                 1.      Cartier Pasha Seatimer Chronograph Watch with Serial Number
 2          604011MX and Black Rubber Bracelet;
 3                 2.      18 Karat White Gold Diamond Cuff Bracelet;
 4                 3.      Stud Earrings;
 5                 4.      10 Silver Dollars in American Eagle Collector Boxes;
 6                 5.      Three ASU Championship Rings;
 7                 6.      Chanel Watch with Serial Number W.K.80418;
 8                 7.      Ring with Pink Stone; and
 9                 8.      Stainless Navitimer Gents Breitling Watch with Serial Number
10          422425 and Polished Navitimer Heritage Bracelet (collectively, the “Subject
11          Property”).
12          The Court has determined that the Subject Property is subject to forfeiture as
13   substitute assets pursuant to 18 U.S.C. § 981, 982, 21 U.S.C. § 853(p), and/or 28 U.S.C. §
14   2461(c). The Government has established that one or more of the conditions in 21 U.S.C.
15   853(p)(1) have been met, and that the Subject Property qualifies for forfeiture under 21
16   U.S.C. 853(p)(2). The Court finds that the defendant has forfeited all right, title and interest
17   defendant may have in the Subject Property.
18          Upon the entry of this Order, the United States is authorized to seize the Subject
19   Property and to conduct any discovery to identify, locate or dispose property that is subject
20   to forfeiture, in accordance with Fed. R. Crim. P. 32.2(b)(3).
21          Upon entry of this Order, the United States is authorized to commence any
22   applicable proceeding to comply with statutes governing third party rights, including
23   giving notice of this Order.
24          Any person asserting a legal interest in the Subject Property must, within thirty days
25   of the final publication of notice or receipt of notice, whichever is earlier, petition the court
26   for a hearing without a jury to adjudicate the validity of any alleged interest in the property,
27   and for an amendment of the order of forfeiture, pursuant to 21 U.S.C. § 853(n).
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 1          Pursuant to Fed. R. Crim. P. 32.2(b)(3), this Order of Forfeiture shall become final
 2   as to the defendant at the defendant’s sentencing and shall be included in the sentence and
 3   judgment. If no third-party files a timely claim, this Order shall become the Final Order of
 4   Forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2).
 5          Any petition filed by a third party asserting an interest in the Subject Property shall
 6   be signed by the petitioner under penalty of perjury and shall set forth the nature and extent
 7   of the petitioner's right, title, or interest in the Subject Property, the time and circumstances
 8   of the petitioner's acquisition of the right, title or interest in the Subject Property, and any
 9   additional facts supporting the petitioner's claim and the relief sought, and the petitioner
10   shall serve a copy upon JOSEPH F. BOZDECH, Assistant United States Attorney.
11          After the disposition of any motion filed pursuant to Fed. R. Crim. P. 32.2(c)(1)(A)
12   and before a hearing on the petition, discovery may be conducted in accordance with the
13   Federal Rules of Civil Procedure upon a showing that such discovery is necessary or
14   desirable to resolve factual issues.
15          The United States shall have clear title to the Subject Property following the Court's
16   disposition of all third-party interests, or, if none, following the expiration of the period
17   provided in 21 U.S.C. § 853(n)(2), for the filing of third-party petitions.
18          The Court shall retain jurisdiction to enforce this Order, and to amend it as
19   necessary, pursuant to Fed. R. Crim. P. 32.2(e).
20          Dated this 25th day of January, 2024.
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                                                     Douglas L. Rayes
25                                                   United States District Judge
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